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BRADY LAW, CHARTERED
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Attorneys for Plaintiffs

                      IN TI-EE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO

JAMES FRITZSCHE, DAVID
ERICKSON, DON FRITZSCIc•, fka DON
COX;                                         Case No. 07-196-C-BLW

                               Plaintiffs,
                                             STIPULATION FOR DISMISSAL
and                                          WITH PREJUDICE

J.O. WENTWORTH S.S.C. LIMITED
PARTNERSHIt',
                     Plaintiff-Intervenor,



METROPOLITAN LIFE INSURANCE
COIVI•ANY, a corporation doing business
in Idaho, METROPOLITAN
REINSURANCE COMPANY, a
corporation doing business in Idaho,
METROPOLITAN INSLrRANCE
COMPANIES, a corporation doing
business in Idaho, METLIFE GROUP,
INC., a New York corporation doing
business in Idaho, and JOHN DOES 1-10,

                              Defendants.

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            Case 2:07-cv-00196-BLW Document 25 Filed 04/01/08 Page 2 of 4




            IT IS   t:[EREBY   STIPULATED AND AOP,.EED, by and between the parties, throngh
their counsel of record, that the Complaint filed in the above-entitled action, may be dismissed
with prejudice with each party to bear their own costs and attorney fees, on the grounds and for
the reasons that the claims of Plaintiffs James Fritzsche, David Erickson, Don Fritzsche fJk/a
Don Cox, have been fully
            DATED this    (p    day   6"f•72008.
                                                 BRADY LAW,




                                                 Attorney for Plaintiffs

            DATED this         day of February, 2008.

                                                 FEATttERSTON LAW FIRM




                                                 Daniel P. Feathers'ton
                                                 Attorneys for Plaintiffs

            DATED this          day of Ftg•va,•, 2008.

                                                 HOLLAND & HART, LLP




                                                         Cr•e
                                                  Tracy J.
                                                  Attorneys for Defendants




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                   IT IS I'IEKEBY STLPULATED AND AGREED, by and between the parties, through
      their counsel of record, that the Complaint filed in file above-entitled action, may be dL•missed
      "Mth prejudice with each pm• to bear their own         coStS   and attorney fees, on the grounds and for
      the reasons that the claims ol PlaindfiTs .Tame,• Fr]mschc. David Erlckson, Don Fri•'•ch¢ f/k!a
      Don Cox, have been l'ally eampremised and settled.
                   DATED this       day of February, 2008.

                                                     BRADY LAW, CHARTERED



                                                     Michael     •.
                                                                B•ady
                                                     Attorney for ]?]aintiffs
                   DATED •s 3.1_ day e r F•-b=•=y, 2008.
                                                     FEATHERSTON LAW FIRM



                                                     Daniel P. Featlaersten
                                                     Attorneys tbr PlaintKt•

                   DATI•D this      day of Februm'y, 2008.

                                                     HOLLAND & HAP.T, LLP



                                                      Traey J. Crane
                                                      Attom,'ys for Defendants




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              Case 2:07-cv-00196-BLW Document 25 Filed 04/01/08 Page 4 of 4




                  DATED fl•is   "•ay oF•o•,,      21)08.

                                                   ALGEO, CLARKE & ERICKSON




                                                   AttomDy•r Plai•tiff-Intervenor




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